
Kirkpatrick, C. J.
— The state of demand in this cause is, in substance, that Butts, the defendant below, had taken the plaintiff’s flat from his ferry at Belvidere, on the river Delaware; that the defendant being obliged to go in search of the flat, in order to cross the river, left his wagon and two horses on the beach, and that while he was gone, the horses ran into the river, and were drowned.
Now, as the plaintiff has undertaken to state the damages specially, he must rest upon that statement on the trial.
The question then will be, is the defendant answerable for the loss of this wagon and these horses ? and I think he is not answerable in the law. It was the [*] plaintiff’s own negligence to leave them, without first securing them.
I think, therefore, there must be a reversal.
Rossell, J. — Concurred.
Pennington, J.
— This is a special action on the case, for consequential damages. The loss sustained by the plaintiff below, is too remote from the injury complained of, to constitute the ground work of an action.1 The drowning the horses was not the consequence of taking away the boat from the ferry, but of the negligence of the owner in not taking care of them.2
Judgment reversed.

 Tidd, 399.


 Lev. 196. Virtue v. Bird, in point.

